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ATTORNEYS FOR DEFENDANT JAMES DONDERO

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

In re:                            §                              Case No. 19-34054
                                  §
HIGHLAND CAPITAL MANAGEMENT, L.P. §                              Chapter 11
                                  §
    Debtor.                       §

                                   §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                   §
    Plaintiff.                     §
                                   §
v.                                 §
                                   §                              Adversary No. 20-03190
JAMES D. DONDERO,                  §
                                   §
    Defendant.                     §

                 JAMES DONDERO’S RESPONSE IN OPPOSITION TO
               DEBTOR’S MOTION FOR A PRELIMINARY INJUNCTION

         James D. Dondero (“Defendant” or “Mr. Dondero”), the defendant in the above-captioned

adversary proceeding, hereby files James Dondero’s Response in Opposition to Debtor’s Motion

for a Preliminary Injunction in opposition to Plaintiff Highland Capital Management, L.P.’s

Emergency Motion for a Temporary Restraining Order and Preliminary Injunction Against Mr.



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James Dondero [Docket Nos. 2 and 6] (the “Motion”). In support thereof, Defendant respectfully

represents as follows:

           1.   Mr. Dondero regrets his communications with Mr. Seery and others that

precipitated the Court’s entry of the TRO. While Dondero understands why the TRO was entered,

he believes that the scope of the proposed preliminary injunction is too broad and nonspecific and

deprives him and potentially other non-parties of various legal and due process rights.

Accordingly, Mr. Dondero respectfully requests that, if the Court is inclined to grant the Debtor’s

Motion, it narrow the scope of the injunction to preserve these rights, strike certain non-specific

provisions from the order, and remove the provisions that purport to restrain the acts of third

parties.

           2.   First, the scope of the proposed injunction restricting Mr. Dondero’s

communication with the Debtor’s employees is too broad and impairs Mr. Dondero’s freedom of

speech under the First Amendment to the U.S. Constitution. The Supreme Court has directed

judges to scrutinize injunctions restricting speech carefully and ensure that they are “no broader

than necessary to achieve [their] desired goals. Madsen v. Women's Health Ctr., 512 U.S. 753,

764-65, 114 S. Ct. 2516 (1994). Here, the scope of this provision of the injunction is too broad

because it restricts all communications, of any kind, and of any nature, between Mr. Dondero and

anyone employed by the Debtor. Accordingly, the injunction should, at minimum, be narrowed to

allow Mr. Dondero to (i) communicate with Debtor’s employees on personal or other routine

matters unrelated to the Debtor’s business or the bankruptcy case; (ii) communicate with

employees of the Debtor who also serve in other capacities for Mr. Dondero, such as his personal

assistants; and, for the avoidance of doubt, to (iii) communicate with employees of the Debtor once

their employment with the Debtor ceases. See Carroll v. President & Comm'rs of Princess Anne,



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393 U.S. 175, 183 (1968) (“An order issued in the area of First Amendment rights must be couched

in the narrowest terms that will accomplish the pin-pointed objective permitted.”).

       3.      Second, the provision of the proposed injunction that prohibits Mr. Dondero from

“interfering with or otherwise impeding, directly or indirectly, with the Debtor’s business,

including but not limited to the Debtor’s decisions concerning its operations, management,

treatment of claims, disposition of assets owned or controlled by the Debtor, and pursuit of the

Plan or any alternative to the Plan” is too broad and potentially restricts Mr. Dondero’s ability to

exercise his legal rights in this case, including (i) his pursuit of an alternative plan that would see

the Debtor survive as a going concern, rather than the liquidation proposed under the Debtor’s

Fifth Amended Plan; (ii) his communications with creditors and others regarding the terms of the

Pot Plan; and (iii) the pursuit of any other legal rights he may have, whether in this Court or outside

of it. The Debtor has been fully aware of Mr. Dondero’s efforts to promote the Pot Plan and has

repeatedly encouraged those efforts. Accordingly, the terms of any injunction should make clear

that Mr. Dondero is not barred from attempting to pursue his Pot Plan or in preventing confirmation

of the Debtor’s Fifth Amended Plan, including communicating with others about doing so

provided he does not offer consideration for doing so.

       4.      Third, the provision of the proposed injunction that enjoins and restrains Mr.

Dondero from “causing, encouraging, or conspiring with (a) any entity owned or controlled by

him, and/or (b) any person or entity acting on his behalf, from, directly or indirectly, engaging in

the Prohibited Conduct” is likewise too broad, nonspecific, vague, and may, or purport to, enjoin

unidentified third parties that are not a party to this proceeding and have complex rights and

interests independent from Mr. Dondero. It would be overly simplistic and a violation of due

process to lump in potentially any entity in which Mr. Dondero has an ownership or management



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interest without giving those separate legal entities an opportunity to respond and be heard on this

Motion. Because these entities are not a party to this suit and the Debtor’s proposed injunction

does not specifically identify any entities besides Dondero, fair notice has not been provided and

the Court should make clear that any injunctive restrictions apply only to Dondero in his personal

capacity and do not purport to bind the actions of an alleged unnamed multitude of separate legal

entities.

        5.      The general rule is that an injunction “is binding only upon the parties to the action,

their officers, agents, servants, employees, and attorneys, and upon those persons in active concert

or participation with them who receive actual notice of the order by personal service or otherwise.”

Fed. R. Civ. P. 65(d). However, active concert applies “only for assisting the enjoined party in

violating the injunction,” and not “from engaging in independent conduct.” See Additive Controls

& Measurement Sys. v. Flowdata, Inc., 96 F.3d 1390, 1394 (Fed. Cir. 1996) (“courts may not grant

an injunction so broad as to make punishable the conduct of persons who act independently and

whose rights have not been adjudged according to law”). While having a relationship to an

enjoined party may expose that party to liability if it assists an enjoined party in that party’s

violation of an injunction, the non-party itself may not be subject to the injunction in its separate

capacity, and its independent conduct cannot be restricted. See id. (“because they were not parties

. . . [they] could not be enjoined from engaging in independent conduct with respect to the subject

matter of that suit”).

        6.      Further, it is not clear that the public interest is served by the entry of the broad

injunction proposed by the Debtor. While the Debtor states public interest favors entry of the

injunction because it may “facilitate reorganizations” and “preserve going-concern values of

business” and “protect[] jobs,” that is the exact opposite of what the Debtor’s Plan proposes. Mr.



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Dondero, on the other hand, is seeking to preserve the value of Debtor’s assets, its going concern

value, and the jobs of the Debtor’s employees. The broad injunction sought by the Debtor may

impair Mr. Dondero’s ability to do just that by preventing him from (i) advocating for his Pot Plan;

(ii) negotiating with creditors and other parties in interest concerning the terms of the Plan and the

potential resolution of their claims against the estate; and (iii) otherwise pursuing his legal rights,

whether in this Court or outside of it. While a footnote to the TRO states that Dondero shall not be

prevented from seeking judicial relief before the Court or filing an objection to any motion, this

limited carve out is far too narrow and does not protect Mr. Dondero’s legitimate due process and

legal rights in this case or his ability to engage in settlement negotiations and discussions with

other parties in this case. By way of example, the Debtor has used this proceeding as a pretext to

conduct discovery into the legitimate settlement communications exchanged between Mr.

Dondero and Andrew Clubok, UBS’s attorney, concerning the terms of a Pot Plan that are wholly

irrelevant to the relief requested in this proceeding. The Debtor should not be allowed to use this

proceeding to conduct broad (and irrelevant) discovery concerning Mr. Dondero’s efforts to

develop a plan different from that proposed by the Debtor.

        7.       In addition, while Mr. Dondero is bound to respect the automatic stay, the provision

of the requested injunction that seeks to prevent Mr. Dondero from “violating section 362(a) of

the Bankruptcy Code” is nonspecific, lacking in detail, and too vague as to be enforceable. There

are no specific prohibited actions listed, and it is unclear what actions the Debtor may assert violate

the automatic stay. Therefore, this provision of the injunction does not describe in reasonable detail

the acts restrained and, in explicit violation of Rule 65(d), makes reference to an outside source. 1



1
  See Fed. R. Civ. P. 65(d) (“Every order granting an injunction and every restraining order must . . . describe in
reasonable detail—and not by referring to the complaint or other document—the act or acts restrained or
required.”) (emphasis added).

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Accordingly, in the event the Court enters an order granting the Motion and allowing the

injunction, it should strike this provision from the order.

        8.      Finally, in the event the Court is inclined to grant the Motion, it should set a

definitive termination date of the injunction so fair notice of length and scope of the injunction is

provided.

                                          CONCLUSION

        For the foregoing reasons, Defendant respectfully requests that the Court deny the Motion

or, in the event the Court is inclined to grant the Motion, narrow the scope of the proposed

injunction as requested herein, and grant Defendant such other and further relief to which he may

be justly entitled.

Dated: January 7, 2021                         Respectfully submitted,

                                               /s/ Bryan C. Assink
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                                CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that, on January 7, 2021, a true and correct copy of the
foregoing document was served via the Court’s CM/ECF system on counsel for the Plaintiff and
on all other parties requesting or consenting to such service in this case.

                                             /s/ Bryan C. Assink
                                             Bryan C. Assink




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